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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


SCRUM ALLIANCE, INC.,                                       :
                                                            :
        Plaintiff,                                          :
                                                            :
                              v.                                      Civil Action No. 4:20-cv-00227
                                                            :
SCRUM, INC.,                                                :         September 25, 2020
JEFF SUTHERLAND, and                                        :
JJ SUTHERLAND,                                              :
                                                            :
        Defendants.                                         :
                                                            :


                     DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

        Scrum, Inc., Jeff Sutherland, and JJ Sutherland (collectively, “Defendants”) hereby bring

this motion (“Motion”) for a protective order pursuant to Rule 26(c) to excuse twenty-four

nonparty customers of Scrum, Inc. from compliance with the subpoenas duces tecum that Scrum

Alliance, Inc. (“SAI”) (the “Subpoenas”).

                                      FACTUAL BACKGROUND

        On August 24, 2020, SAI served fourteen subpoenas on some of Scrum, Inc.’s largest

customers. See Exs. 1-14. The subpoenas demanded that each of these customers produce all

emails to or from present or former employees of Scrum, Inc, all emails to or from a Scrum, Inc.

e-mail address, as well as all emails and documents concerning Defendants’ “Licensed Scrum”

offerings, without limitation.1 SAI served copies of the subpoenas on counsel for Defendants on


1
 The subpoenas were issued to (1) 3M Company on St. Paul, Minnesota; (2) Agile Genesis, Inc. in Coral Springs,
Florida; (3) Aleph Technologies LLC in Richardson Texas; (4) Bain & Company, Inc. in Boston, MA, which has
asserted objections; (5) BMNT, Inc. in Palo Alto, California; (6) Bright Horizons Family Solutions, Inc. in
Watertown, MA; (7) Deere & Co. in Moline, Illinois; (8) Duke Energy Corporation in Charlotte, North Carolina; (9)
IQVIA Inc. in Danbury, Connecticut; (10) Mass General Brigham in Boston, MA; (11) New Technology Solutions,
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August 25, 2020. On September 10, 2020, SAI served another ten subpoenas requesting the

same documents on several other of Scrum, Inc.’s largest clients, requesting compliance by

September 25, 2020.2 See Exs. 15-24.

        The clear intent of the Subpoenas is to harass and embarrass Defendants, burden their

customers by propounding unnecessary and duplicative discovery, and damage their

relationships with these customers. SAI has already sought broad discovery from Defendants,

including propounding over 80 requests for documents, and received thousands of documents

from Defendants. On top of this, SAI now seeks duplicative, unnecessary, and burdensome

productions from twenty-four nonparty customers of Scrum, Inc. across the United States. These

requests to customers, which broadly seek information that can be obtained directly from

Defendants, clearly demonstrate SAI’s singular intent to burden, harass, annoy, and embarrass

Defendants. As such, the Subpoenas are no more than an attempt to annoy and embarrass SAI’s

competitor and litigation adversary and to burden Defendants’ third-party customers and

relationships with those customers. This Court should enter a protective order under Rule 26(c)

to protect Defendants’ customers from compliance with the Subpoenas and protect Defendants

from annoyance and embarrassment.

                                         LEGAL STANDARD

        Pursuant to Federal Rule of Civil Procedure 26(c)(1), a court may grant a motion for

protective order to deny discovery, quash or modify a subpoena, or otherwise limit the scope of

permissible discovery “for good cause . . . to protect a party or person from annoyance,

Inc. in Tewksbury, Massachusetts; (12) Schlumberger Ltd. in Houston, Texas; (13) Walmart Inc. in Bentonvile,
Arkansas; and (14) Westrock Company in Atlanta, Georgia.
2
  The subpoenas were issued to: (15) BlackRock, Inc. in Albany, NY; (16) Bloomberg L.P. in Albany, N.Y; (17)
Intel Corporation in Los Angeles, California; (18) The Lane Corporation in Cheshire, Connecticut; (19) United
States Department of the Navy, Explosive Ordnance Disposal in Washington Navy Yard, District of Columbia; (20)
Northrop Grumman Corporation in Glen Allen, Virginia; (21) Peloton Interactive, Inc. in Albany, NY; (22)
Raytheon Company in Boston, MA; (23) Astra Space Inc. a/k/a Stealth Space Company in Alameda, CA; and (24)
Verizon Communications Inc. in New York, NY.
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embarrassment, oppression, or undue burden or expense.” See Fed.R.Civ.P. 26(c)(1). Under this

rule, a party may move for a protective order “regardless of whether the moving party is seeking

to prevent disclosure of information by a nonparty, as long as the moving party can tie the

protected information to an interest listed in the rule . . . .” Firetrace USA, LLC v. Jesclard, No.

cv–07–2001, 2008 WL 5146691, at *2 (D. Ariz. Dec. 8, 2008); HDSherer LLC v. Nat. Molecular

Testing Corp., 292 F.R.D. 305, 307–08 (D.S.C. 2013); Kilmon v. Saulsbury Indus., Inc., No.

MO:17-CV-99, 2018 WL 5800759, at *4 (W.D. Tex. Feb. 13, 2018) (“A motion for a protective

order may be made by any party and such party may seek a Rule 26(c) protective order if it

believes its own interest is jeopardized by discovery sought from a third person.”) (internal

citation omitted). Courts must also “limit the frequency or extent of discovery” if “the burden or

expense of the proposed discovery outweighs its likely benefit, considering the needs of the case,

the amount in controversy, the parties' resources, the importance of the issues at stake in the

action, and the importance of the discovery in resolving the issues.” Fed. R. Civ. P. 26(b)(2)(C).

Here, a protective order should enter to protect Defendants, and their nonparty customers, from

annoyance, embarrassment, and undue burden.

                                                 ARGUMENT

    I.       Scrum, Inc. Has Standing

         As an initial matter, Scrum, Inc. has standing to seek a protective order on behalf of

nonparty customers pursuant to Rule 26 because the Subpoenas seek information intended to

cause annoyance and embarrassment to Defendants. 3 See, e.g., Kilmon, 2018 WL 5800759, at


3
  Defendants further note that a motion for protective order under Rule 26(c) is properly brought in the court in
which the action is pending or in the court of compliance. See Fed. R. Civ. P. 26(c) (“A party or any person from
whom discovery is sought may move for a protective order in the court where the action is pending. . .”). In
addition, this motion is timely with respect to the 10 subpoenas setting a compliance date of September 25, 2020
because a motion of this nature is timely if brought within the time for compliance. Courts have generally “read the
timeliness requirement to mean within the time set in the subpoena for compliance.” See e.g. Town of Grafton v.
Pulte Homes of New England, LLC, No. 12-10524-TSH, 2014 WL 2155035, at *3 (D. Mass. May 21, 2014); see
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*4. A party has standing to seek a protective order on behalf of a non-party “as long as the

moving party can tie the protected information to an interest listed in [Rule 26],” such as

annoyance, embarrassment, oppression, or undue burden or expense. See, e.g., Accusoft Corp. v.

Quest Diagnostics, Inc., No. 12-cv-40007-FDS, 2012 WL 1358662, at *10 (D. Mass. Apr. 18,

2012); Field v. Anadarko Petroleum Corp., No. 4:20-CV-00575, 2020 WL 4937122, at *2 (S.D.

Tex. Aug. 24, 2020) (“a party has standing to move for a protective order pursuant to Rule 26(c)

. . . even if the party does not have standing pursuant to Rule 45(d).”); Ferris Mfg. Corp. v. Thai

Care Co., No. 4:17-CV-01024-O, 2019 WL 8223600, at *2 (N.D. Tex. Jan. 25, 2019)

(“Defendants have standing under Rule 26(c) to seek a protective order limiting or modifying the

scope of the subpoenas because their Motion contends that carrying out the subpoenas would be

expensive and unduly burdensome and were intended to embarrass and oppress Defendants.”);

see also Garcia v. Prof’l Contract Servs., Inc., No. A-15-CV-585-LY, 2017 WL 187577, at *1

(W.D. Tex. Jan. 17, 2017) (“Given that [plaintiff] does not challenge [defendant’s] standing

under Rule 26, [his] standing argument under Rule 45 is largely irrelevant.”).                             Here, the

Subpoenas are clearly intended to cause annoyance and embarrassment to Defendants by

burdening their customers and their relationships with these customers. As a result, Defendants



also City of St. Petersburg v. Total Containment, Inc., No. MISC. 07–191, 2008 WL 1995298, at *2 (E.D.Pa. May 5,
2008) (finding motions to quash are “timely” under Rule 45 so long as filed by return date of subpoena, so long as
the subpoena’s compliance period is of “reasonable duration”). Further, the Motion is timely as to the earlier-issued
subpoenas. See, e.g., United States v. Cabelka, No. 7:16-CV-00126-O-BP, 2017 WL 11477131, at *1 (N.D. Tex.
Oct. 23, 2017) (denying motion to compel because “. . .thirty days is a “reasonable time” to respond to a subpoena
duces tecum. . .” especially where the subpoenaed third-party was only given 15 days for compliance). Moreover, it
is well within this Court’s discretion to grant a protective order that applies to all subpoenas. See, e.g., MetroPCS v.
Thomas, 327 F.R.D. 600, 610 (N.D. Tex. 2018) (explaining that “subpoenas duces tecum are discovery devices
governed by Rule 45 but also subject to the parameters established by Rule 26” and that a “court retains discretion to
decline to compel production of requested documents when the request exceeds the bounds of fair discovery, even if
a timely objection has not been made.”) (quoting Arthur J. Gallagher & Co., 2017 WL 5713361, at *2); Green v.
Cosby, No. 3:14-CV-30211-MGM, 2017 WL 1377593, at *2 (D. Mass. Apr. 11, 2017) (“Federal Rule of Civil
Procedure 26(b)(2)(C)(iii) requires the court to limit the frequency or extent of discovery otherwise allowed under
those rules or by local rules if it determines that the proposed discovery is outside the scope permitted by Rule
26(b)(1). The court may do so “[o]n motion or on its own.” Fed. R. Civ. P. 26(2)(C).”).
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have standing here to move for protective order on behalf of nonparty customers subject to the

Subpoenas.

    II.      The Subpoenas Are Unduly Burdensome.

          A protective order is warranted because the Subpoenas are unduly burdensome and seek

information available from more convenient sources, namely Defendants. In fact, courts have an

affirmative obligation to protect third parties from burdensome or duplicative discovery. See

generally Chevron Corp. v. Donziger, No. 12-MC-80237 CRB (NC), 2013 WL 4536808, at *4

(N.D. Cal. Aug. 22, 2013) (“[T]he court must protect a person who is neither a party nor a

party’s officer from significant expense resulting from compliance.”) (citing Fed. R. Civ. P.

26(b)(2)(C)) (internal quotation omitted). Courts routinely limit discovery intended to harass an

opposing party by antagonizing or burdening its customers. See, e.g., Accusoft Corp., 2012 WL

1358662, at *11 (quashing subpoenas where it was “more than likely that the breadth and

intrusiveness of the subpoenas will cause a degree of harm to defendants’ customer

relationships”); MAP Co. v. Lebanese Arak Corp., 2017 WL 10434017, at *1 (C.D. Cal. Oct. 26,

2017) (quashing subpoenas to defendant’s customers on basis of undue burden though customers

themselves did not assert undue burden); Renfro v. Weis-Buy Servs., Inc., 2005 WL 8159582, at

*2 (M.D. Fla. Feb. 10, 2005) (quashing overly broad customer subpoenas that would create “an

undue burden and annoyance” on defendant); Murata Mfg. Co. v. Bel Fuse Inc., No. 03 C 2934,

2004 WL 1194740, at *5 (N.D. Ill. May 26, 2004) (entering protective order prohibiting plaintiff

from contacting customers where there were other means to attain the information and

recognizing harm to defendant’s commercial standing and relationships with its customers if the

subpoenas are enforced).4


4
   Courts have given the commercial damage associated with dragging customers or customer information into a
litigation significant weight. See e.g. Red River Fiber Optic Corp. v. Verizon Servs. Corp., No. 3-11-CV-1010-L-
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        “Courts are particularly reluctant to require a non-party to provide discovery that can be

produced by a party.” Amini Innovation Corp. v. McFerran Home Furnishings, Inc., 300 F.R.D.

406, 410 (C.D. Cal. 2014). Here, the Subpoenas broadly request all communications between

each third-party customer and Scrum, Inc., in addition to all emails and documents concerning or

relating to Scrum, Inc.’s “Licensed Scrum” offerings. See Exhibits 1-24. This information is

equally available and far less burdensome to obtain directly from Defendants, who have already

responded to over 80 requests document requests and produced thousands of documents to SAI,

many of which are duplicative of and responsive to SAI’s subpoena requests. For example, SAI

has requested communications and documents related to “every person” who has inquired about

taking any Licensed Scrum course (see Request Nos. 40-47), related to “all non-public” Licensed

Scrum courses offered by Scrum (see Request No. 60, see also Request Nos. 1, 5, 6-7, and 9),

and Defendants have already produced several communications and documents responsive to

such requests. See Ex. 25. Where the requested information can be obtained from Defendants

without burdening nonparty customers, a protective order should enter to prohibit such

burdensome discovery from nonparties. See Arthrex, Inc. v. Parcus Medical, LLC, 2011 WL

6415540, at *6 (S.D. Ind. Dec. 21, 2011) (“A party’s ability to obtain documents from a source

with which it is litigating is a good reason to forbid it from burdening a non-party with


BD, 2012 WL 13026822, at *1 (N.D. Tex. Jan. 10, 2012) (denying motion to compel customer information when
that information may be shared with a competitor because that is presumptively harmful); digEcor, Inc. v. e.Digital
Corp., 2008 U.S. Dist. LEXIS 69936 (D. Utah, Sept. 16, 2008) (“Discovery requests directed to an opponent's
customers are to be approached with caution, even more than is advised in most discovery directed to third-
parties.”); See id. (modifying discovery requests to customers, albeit minorly); Oak Valley Inv., L.P. v. Southwick,
No. 2:06 CV 737 DB, 2007 WL 2155689, at *2 (D. Utah July 25, 2007) (granting motion to compel discovery of
client information from Defendant but granting protective order prohibiting plaintiff counsel “from contacting any
of the customers identified in the information until further order of the court, upon motion, notice and hearing”
addressing the Defendant’s “valid concern regarding the protection of customer relations from damage because of
pre-trial discovery.”); Cognex Corp. v. VCode Holdings, Inc., No. CV 06-1040 (JNE-JJG), 2007 WL 9734969, at *5
(D. Minn. Apr. 9, 2007) (denying motion to compel customer lists and information where that information would
inevitably be used to propound discovery on those customers, especially where the information is otherwise
available from the Defendant).
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production of those same requests.”); Brown v. City of Syracuse, 648 F. Supp. 2d 461, 466

(N.D.N.Y. 2009) (when balancing hardships between requesting party and non-party, court

should consider whether there are other sources for obtaining the material).        As such, the

Subpoenas are unduly burdensome and a protective order should enter. See AECOM Tech.

Servs., Inc. v. Zachry Constr. Corp., No. 219MC00201JAKRAOX, 2020 WL 1934973, at *4

(C.D. Cal. Feb. 3, 2020) (quashing subpoena where documents are equally attainable from party

to the litigation); DeGregorio v. Phillips Elecs. N. Am. Corp., 2007 WL 4591966, at *3 (N.D. Ill.

Dec. 28, 2007) (granting protective order for discovery request served on defendants’ customers

because it was “cumulative of what defendants already ha[d] produced.”); Joy Techs., Inc. v.

Flakt, Inc., 772 F. Supp. 842, 849 (D. Del. 1991) (entering protective order where the parties are

“fierce competitors” prohibiting parties from seeking discovery from the other’s customers

where doing so may harm relations with customers, where the information could likely be

attained from party).

   III.      The Subpoenas Are Overly Broad.

          A protective order should also enter to protect Defendants and their nonparty customers

from the overly broad nature of the Subpoenas. See Manookian v. Mervis, No. CV 4:17-MC-

00056, 2017 WL 3457063, at *2 (E.D. Tex. Aug. 11, 2017) (denying motion to compel third

party where requests sought all documents related to the party to the action without

particularization and without reference as to whether those documents relate to the action, and

other requests had no limitation in the time period). Here, the Subpoenas broadly seek “[a]ll

emails to or from present or former employees of Scrum, Inc.,” as well as all emails from any

Scrum, Inc. email address, and all emails and all documents concerning Scrum, Inc.’s “Licensed

Scrum” offerings. These requests are not limited in any way to relevance to any claims or
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defenses in this action or by any time limitation, rendering them facially overbroad. Courts have

found third-party subpoenas to be facially overbroad where they “seek all documents concerning

the parties to [the underlying] action, regardless of whether those documents relate to

that action and regardless of date”; “[t]he requests are not particularized”; and “[t]he period

covered by the requests is unlimited.” See e.g. In re O’Hare, Misc. A. No. H–11–0539, 2012

WL 1377891, at *2 (S.D. Tex. Apr. 19, 2012). Accordingly, a protective order is warranted to

excuse Defendants’ nonparty customers from compliance with the Subpoenas.

                                        CONCLUSION

       For the reasons set forth herein, the Court should issue a protective order to excuse

Defendants’ nonparty customers from compliance with the subpoenas issued by SAI.

                                                       Respectfully submitted,

                                                       BROWN RUDNICK LLP



                                                         /s/ Jessica T. Lu
                                                       Edward J. Naughton (pro hac vice)
                                                       Jessica T. Lu (pro hac vice)
                                                       One Financial Center
                                                       Boston, MA 02111
                                                       Telephone: (617) 856-8200
                                                       Facsimile: (617) 856-8201
                                                       enaughton@brownrudnick.com
                                                       jlu@brownrudnick.com

                                                       -and-

                                                       Dylan P. Kletter (pro hac vice)
                                                       Anthony J. Boccamazzo (pro hac vice)
                                                       Kelsey D. Bond (pro hac vice)
                                                       185 Asylum Street, 38th Floor
                                                       Hartford, CT 06103
                                                       Telephone: (860) 509-6500
                                                       Facsimile: (860) 509-6501
                                                       dkletter@brownrudnick.com
                                                       aboccamazzo@brownrudnick.com
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                                                      kbond@brownrudnick.com

                                                      -and-

                                                      Andrew B. Ryan
                                                      Texas State Bar No. 24054464
                                                      Ryan Law Partners LLP
                                                      3811 Turtle Creek Boulevard, Suite 780
                                                      Dallas, Texas 75219
                                                      Telephone: (214) 347-7360
                                                      andy@ryanlawpartners.com

                                                      Attorneys for Defendants Scrum, Inc.,
                                                      Jeff Sutherland, and J.J. Sutherland

Dated: September 25, 2020




                               CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically on September 25, 2020,

pursuant to Local Rule CV-5(a) and has been served on all counsel who have consented to

electronic service. Any other counsel of record will be served by first class U.S. mail on this

same date.


                                                      /s/ Jessica T. Lu
                                                    Jessica T. Lu (pro hac vice)
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                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(h), I hereby certify that on September 25, 2020, I conferred

with Charles Babcock, Esq., counsel for Plaintiff, via telephone regarding this motion. Mr.

Babcock stated that he would get back to me once he was able to connect with his client but

anticipated that he would be unlikely to be able to do so until next week. Defendants are filing

this motion due to the deadline for compliance.


                                                       /s/ Jessica T. Lu
                                                     Jessica T. Lu (pro hac vice)

                                                     _/s/ Andrew B. Ryan ________
                                                       Andrew B. Ryan
